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April 9, 2025

VIA ECF

Hon. Jesse M. Furman
United States District Court for the Southern District of New York
40 Foley Square
New York, New York 10007

Re:      Frommer et al. v. MoneyLion Techs. Inc. et al., No. 1:23-cv-06339-JMF

Dear Judge Furman:

       The parties submit this letter jointly to propose that Plaintiffs’ experts, Jennifer L. Larson
and Bruce B. Bingham, testify on Friday, April 25, 2025, beginning at 9:00 a.m.; and that
MoneyLion’s experts, Louis G. Dudney and Paul A. Gompers, testify on Monday, April 28, 2025,
also beginning at 9:00 a.m.

Respectfully submitted,


/s/ Eliot Lauer                                                      /s/ Edward Moss

Eliot Lauer (for Plaintiffs)                                         Edward Moss (for Defendants)



cc:    All counsel of record

                          The Court agrees with the parties' proposed schedule, except that proceedings
                          will begin at 9:30 a.m. on both days. (The Court will shorten the lunch break if
                          needed to compensate.)

                                                                                 SO ORDERED.




                                                                                 April 9, 2025



                                                  KATTEN MUCHIN ROSENMAN LLP
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                                          LONDON: KATTEN MUCHIN ROSENMAN UK LLP
